Case 5:11-cr-04013-DEO-LTS   Document 107   Filed 06/21/12   Page 1 of 6
Case 5:11-cr-04013-DEO-LTS   Document 107   Filed 06/21/12   Page 2 of 6
Case 5:11-cr-04013-DEO-LTS   Document 107   Filed 06/21/12   Page 3 of 6
Case 5:11-cr-04013-DEO-LTS   Document 107   Filed 06/21/12   Page 4 of 6
Case 5:11-cr-04013-DEO-LTS   Document 107   Filed 06/21/12   Page 5 of 6
Case 5:11-cr-04013-DEO-LTS   Document 107   Filed 06/21/12   Page 6 of 6
